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1    D. EDWARD HAYS, #162507
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2    DAVID A. WOOD, #272406
     dwood@marshackhays.com
3    MARSHACK HAYS LLP
     870 Roosevelt
4    Irvine, California 92620
     Telephone: (949) 333-7777
5    Facsimile: (949) 333-7778

6    Proposed Attorneys for Chapter 7 Trustee,
     RICHARD A. MARSHACK
7
                                      UNITED STATES BANKRUPTCY COURT
8
                       CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION
9
10    In re                                                 Case No. 8:19-bk-13560-CB

11    EAGAN AVENATTI, LLP                                   Chapter 7

12                       Debtor.                            NOTICE OF APPLICATION BY
                                                            CHAPTER 7 TRUSTEE TO EMPLOY
13                                                          MARSHACK HAYS LLP AS GENERAL
                                                            COUNSEL
14
                                                            [NO HEARING REQUIRED – LBR 9013-
15                                                          1(o)]
16

17   TO THE HONORABLE CATHERINE E. BAUER, UNITED STATES BANKRUPTCY COURT
18   JUDGE, THE OFFICE OF THE UNITED STATES TRUSTEE, AND ALL INTERESTED
19   PARTIES:
20            PLEASE TAKE NOTICE that Richard A. Marshack, in his capacity as Chapter 7 Trustee
21   (“Trustee”) of the Bankruptcy Estate (“Estate”) of Eagan Avenatti, LLP (“Debtor”), has filed an
22   application (“Application”) for entry of an order authorizing the employment of Marshack Hays LLP
23   (“Firm”) as the Trustee’s and the Estate’s general counsel in this case pursuant to 11 U.S.C. § 327,
24   effective as of September 13, 2019.
25   ///
26   ///
27   ///
28
                                               1
      NOTICE OF APPLICATION BY CHAPTER 7 TRUSTEE TO EMPLOY MARSHACK HAYS LLP AS GENERAL
                                            COUNSEL
     4816-3165-5080, v. 1/1601-012
Case 8:19-bk-13560-SC                Doc 18 Filed 10/02/19 Entered 10/02/19 16:24:41            Desc
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 1            On September 13, 2019 (“Petition Date”), Debtor filed a voluntary petition under Chapter 7
 2 of Title 11 the United States Code and the Trustee was appointed. On the same date, the Debtor filed

 3 its schedules and statement of financial affairs (“Schedules and SOFA”).

 4            Pre-petition, Brian Weiss was appointed as a receiver (“Receiver”) by the United States
 5 District Court in the In re Eagan Avenatti, LLP case which was assigned as Case No. 8:18-cv-01644-

 6 VAP-KES (“District Court Action”) pursuant to a stipulation and order entered on February 13,

 7 2019. The Receiver signed the petition, Schedules, and SOFA on behalf of Debtor.

 8            On September 13, 2019, as Dk. No. 3, proposed special litigation counsel for Trustee, John P.
 9 Reitman and Jack A. Reitman of Landau Gottfried & Berger LLP (“Special Counsel”), filed an

10 emergency motion for preliminary injunction as to four pieces of art currently in the possession of

11 the Orange County Sheriff (“Preliminary Injunction”).

12            On September 16, 2019, Special Counsel filed an adversary complaint for avoidance and
13 recovery of fraudulent and preferential transfers; declaratory relief; turnover; preliminary and

14 permanent injunction; breach of fiduciary duty; disallowance of proofs of claim; and equitable

15 subordination. The named defendants are Michael Avenatti, Lisa Storie-Avenatti, and Avenatt &

16 Associates APC, Case No.: 8:19-ap-01186-CB, Dk. No. 8 (“Adversary Case”). The Trustee’s

17 proposed Special Counsel represented the Receiver in the District Court Action.

18            On September 16, 2019, an emergency motion for Preliminary Injunction was also filed on in
19 the Adversary Case. On September 17, 2019, as Dk. No. 5, the Court entered an order granting the

20 Trustee’s requested Preliminary Injunction.

21            The Trustee requires the assistance of general counsel to assist in administering assets for
22 the benefit of the creditors of the Estate, if appropriate. The Firm is knowledgeable and experienced

23 in representing bankruptcy trustees in the course of operations and liquidations. The Firm may be

24 required to assist the Trustee in the following matters:

25            (1) To analyze and evaluate assets and claims of the case;
26            (2) To represent the Trustee in any proceedings or hearings in the Bankruptcy Court or in
27                any other action where the rights of the Estate or the Trustee may be litigated or affected;
28
                                               2
      NOTICE OF APPLICATION BY CHAPTER 7 TRUSTEE TO EMPLOY MARSHACK HAYS LLP AS GENERAL
                                            COUNSEL
     4816-3165-5080, v. 1/1601-012
Case 8:19-bk-13560-SC                 Doc 18 Filed 10/02/19 Entered 10/02/19 16:24:41           Desc
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 1            (3) To conduct examinations of the Debtor, witnesses, claimants, or adverse parties and to
 2                prepare and assist in the preparation of reports, accounts, applications, motions,
 3                complaints, and orders;
 4            (4) To prepare on behalf of the Trustee any necessary applications, motions, answers, orders,
 5                reports, and other legal papers;
 6            (5) To investigate, and if necessary, prosecute claims for relief that the Estate may have; and
 7            (6) To perform all legal services incidental and necessary for the smooth administration of
 8                the Estate.
 9            The Firm will render services to the Trustee at the Firm’s regular hourly rates, which may
10 be adjusted from time to time. The Firm’s current hourly billing rates are as follows:

11    Partners                       Rates Of Counsel             Rates Paralegals              Rates
12    Richard A. Marshack $650              Kristine A. Thagard   $530    Pamela Kraus          $270
13    D. Edward Hays                 $650   Matthew W. Grimshaw $500      Chanel Mendoza        $240
14    Chad V. Haes                   $450   Associates            Rates Layla Buchanan          $240
15    David A. Wood                  $450   Judith E. Marshack    $410    Cynthia Bastida       $240
16                                          Laila Masud           $350    Laurie McPherson      $175
17                                          Tinho Mang            $300    Kathleen Frederick $175
18            The Firm will be compensated from assets of the Estate, if any, and will not be compensated
19 absent the Estate’s receipt or recovery of such assets. The Firm has received no retainer for the

20 services to be performed in this case and, has agreed that no retainer will be paid.

21            The Firm understands that its compensation in this case is subject to approval by the
22 Bankruptcy Court. In compliance with 11 U.S.C. §§ 330 and 331, the Firm intends to file interim

23 and final applications for allowance of fees and reimbursement of costs as and when appropriate.

24            The Firm has advised the Trustee that the Firm has not shared or agreed to share any
25 compensation to be received in this case with any other person, except among partners of the Firm.

26            The Trustee believes that the Firm is a “disinterested person” within the meaning of 11
27 U.S.C. § 101(14).

28
                                               3
      NOTICE OF APPLICATION BY CHAPTER 7 TRUSTEE TO EMPLOY MARSHACK HAYS LLP AS GENERAL
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 1            The complete scope and terms of the employment are detailed in the Application a copy of
 2 which can be obtained by contacting D. Edward Hays and David A. Wood, whose contact

 3 information is listed in the top left-hand corner of this Notice. The Application is based on 11 U.S.C.

 4 § 327 and the Firm intends to seek compensation pursuant to 11 U.S.C. §§ 330 and 331.

 5            PLEASE TAKE FURTHER NOTICE that any response and request for hearing as to the
 6 proposed employment must be in the form as required by Rules 2014-1(b) 9013-1(f) and (o) of the

 7 Local Bankruptcy Rules (“LBR”) and filed with the Clerk of the above-entitled Court. The deadline

 8 for any response and request for hearing is fourteen (14) days after the date of service of this Notice

 9 plus an additional three (3) days unless this Notice was served by personal delivery or posting as

10 described in F.R.Civ.P. 5(b)(2)(A)-(B). A copy of any response or request for hearing must be

11 served on Marshack Hays LLP to the attention of D. Edward Hays and David A. Wood at the

12 address indicated above and served on the Office of the United States Trustee, 411 West Fourth

13 Street, Suite 7160, Santa Ana, California 92701. Failure to timely respond may be deemed as

14 acceptance of the proposed employment. See LBR 9013-1(h).

15 DATED: October 2, 2019                         MARSHACK HAYS LLP
16
                                                  By: /s/ D. Edward Hays
17                                                   D. EDWARD HAYS
                                                     DAVID A. WOOD
18                                                   Proposed General Counsel for Richard A.
                                                     Marshack, Chapter 7 Trustee for the Bankruptcy
19                                                   Estate of EAGAN AVENATTI, LLP
20

21

22

23

24

25

26

27

28
                                               4
      NOTICE OF APPLICATION BY CHAPTER 7 TRUSTEE TO EMPLOY MARSHACK HAYS LLP AS GENERAL
                                            COUNSEL
     4816-3165-5080, v. 1/1601-012
         Case 8:19-bk-13560-SC                     Doc 18 Filed 10/02/19 Entered 10/02/19 16:24:41                                     Desc
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
870 Roosevelt, Irvine, CA 92620

A true and correct copy of the foregoing document entitled: NOTICE OF APPLICATION BY CHAPTER 7 TRUSTEE TO
EMPLOY MARSHACK HAYS LLP AS GENERAL COUNSEL will be served or was served (a) on the judge in chambers
in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On October
2, 2019, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:




                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On October 2, 2019, I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
be completed no later than 24 hours after the document is filed.

MAIL REDIRECTED TO TRUSTEE 09/23/19
DEBTOR
Eagan Avenatti, LLP
20341 SW Birch, Suite 220
Newport Beach, CA 92660-1514

                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on October 2, 2019, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

VIA PERSONAL DELIVERY
PRESIDING JUDGE’S COPY
Bankruptcy Judge Honorable Catherine E. Bauer
U. S. Bankruptcy Court – Central District
411 West Fourth Street, Suite 5165 / Courtroom 5D
Santa Ana, CA 92701-4593

                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

  October 2, 2019                           Cynthia Bastida                                      /s/ Cynthia Bastida
  Date                                      Printed Name                                         Signature

            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
4850-8841-6168, v. 1
         Case 8:19-bk-13560-SC                     Doc 18 Filed 10/02/19 Entered 10/02/19 16:24:41                                     Desc
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1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): (CONTINUED)
     INTERESTED PARTY COURTESY NEF: James C Bastian, Jr jbastian@shbllp.com
     INTERESTED PARTY COURTESY NEF: D Edward Hays ehays@marshackhays.com,
        8649808420@filings.docketbird.com
     RICHARD A MARSHACK (TR): Richard A Marshack (TR) pkraus@marshackhays.com,
        rmarshack@iq7technology.com
     DEBTOR EAGAN AVENATTI, LLP AND TRUSTEE RICHARD A MARSHACK (TR): Jack A. Reitman
        jareitman@lgbfirm.com, srichmond@lgbfirm.com; vrichmond@lgbfirm.com; avedrova@lgbfirm.com
     DEBTOR EAGAN AVENATTI, LLP: John P. Reitman jreitman@lgbfirm.com, srichmond@lgbfirm.com;
        vrichmond@lgbfirm.com
     UNITED STATES TRUSTEE (SA): United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov
     INTERESTED PARTY COURTESY NEF: David Wood dwood@marshackhays.com,
        8649808420@filings.docketbird.com

2. SERVED BY UNITED STATES MAIL: (CONTINUED)
 CREDITOR                      CREDITOR                                                                     CREDITOR
 520 NEWPORT CENTER DRIVE      ACAMAR INVESTMENTS                                                           ACE PARKING MANAGEMENT INC
 LLC                           JOHN CASPERSON                                                               610 NEWPORT CENTER DRIVE
 C/O MARK A KOMPA ESQ          999 THIRD AVENUE                                                             SUITE 50
 233113 S PLAZA POINTE         SUITE 2600                                                                   NEWPORT BEACH, CA 92660-6416
 SUITE 100                     SEATTLE, WA 98104-4018
 LAGUNA HILLS, CA 92653

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 ATLANTA, GA 31193-0001                            ATLANTA, GA 30368-2242                                   GARDEN GROVE, CA 92842-0361

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 29 SOHO                                           SYSTEMS                                                  221 KING STREET
 IRVINE, CA 92612-1083                             PO BOX 732565                                            MADISON, WI 53703-3419
                                                   DALLAS, TX 75373-2565

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 PROPERTIES                                        ATTN ELIZABETH GREEN                                     633 WEST FIFTH STREET
 C/O ANDREW D STOLPER ESQ                          200 S ORANGE AVE                                         SUITE 5400
 19800 MACARTHUR BLVD STE 855                      SUITE 2300                                               LOS ANGELES, CA 90071-2060
 IRVINE, CA 92612-8444                             ORLANDO, FL 32801-3432

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 10350 SANTA MONICA BLVD                           17835 VENTURA BLVD                                       444 W RAILROAD AVE
 SUITE 200                                         SUITE 310                                                SUITE 350
 LOS ANGELES, CA 90025-6923                        ENCINO, CA 91316-3683                                    WEST PALM BEACH, FL 33401-4112

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June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
4850-8841-6168, v. 1
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 CA DEPARTMENT OF REVENUE                          CALIFORNIA BANK & TRUST                                  CALIFORNIA BANK & TRUST
 CA FRANCHISE TAX BOARD                            ATTN DAVID BLACKFORD                                     PO BOX 30833
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 SACRAMENTO, CA 95812-1468                         SUITE 200
                                                   SAN DIEGO, CA 92130-2051

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 #150                                              SUITE 200                                                NEWPORT BEACH, CA 92658-3080
 SEATTLE, WA 98104-1404                            LOS ANGELES, CA 90012-3607

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 DYNAMICS INC                                      2000 POWELL STREET                                       SPOUND
 149 SHELDON STREET                                SUITE 510                                                C/O FRANK SIMS & STOLPER LLP
 EL SEGUNDO, CA 90245-3916                         EMERYVILLE, CA 94608-1886                                19800 MACARTHUR BLVD
                                                                                                            #855
                                                                                                            IRVINE, CA 92612-8444

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 COUNTY OF ORANGE                                  COUNTY OF ORANGE                                         COX COMMUNICATIONS
 ATTN TREASURER-TAX                                PO BOX 4515                                              ATTN BANKRUPTCY CENTER
 COLLECTOR                                         SANTA ANA, CA 92702-4515                                 1341 CROSSWAYS BLVD
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 SANTA ANA, CA 92702-1438

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 23041 AVENIDA DE LA CARLOTA                       C/O X-LAW GROUP                                          LEVENE NEALE BENDER YOO &
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 LAGUNA HILLS, CA 92653-1572                       SUITE 450                                                10250 CONSTELLATION BLVD
                                                   LOS ANGELES, CA 90012                                    SUITE 1700
                                                                                                            LOS ANGELES, CA 90067-6253

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 90 WOODBRIDGE CENTER DRIVE                                                                                 CINCINNATI OH 45250-5585
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 WOODBRIDGE, NJ 07095-1146




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June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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 DEPARTMENT OF THE TREASURY                        DEPT OF THE TREASURY IRS                                 DEVELOPING OPPORTUNITIES
 INTERNAL REVENUE SERVICE                          OGDEN, UT 84201-0013                                     & SOLUTIONS LLC
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 HOU                                                                                                        #400
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June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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 SUITE 1900                                        IRVINE, CA 92618-4687
 MIAMI, FL 33131-5319

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 SUITE 855                                         19800 MACARTHUR BLVD                                     MOUNT PLEASANT, SC 29464-5171
 IRVINE, CA 92612-8444                             SUITE 855
                                                   IRVINE, CA 92612-8444

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 JUDICATE WEST                                     KCC                                                      KNJ VENTURES
 1851 EAST FIRST STREET                            222 N PACIFIC COAST HWY                                  1106 A BROADWAY
 SUITE 1600                                        3RD FLOOR                                                SANTA MONICA, CA 90401
 SANTA ANA, CA 92705-4058                          EL SEGUNDO, CA 90245-5648

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 1180 WEST PEACHTREE STREET                        1880 CENTURY PARK EAST                                   3993 HOWARD HUGHES PARKWAY
 SUITE 2400                                        SUITE 1101                                               SUITE 600
 ATLANTA, GA 30309-3482                            LOS ANGELES, CA 90067-1608                               LAS VEGAS, NV 89169-5996

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 LISA STORIE-AVENATTI                              LITIGATION SERVICES                                      MARK S HOROUPIAN ESQ
 3419 VIA LIDA 610                                 3700 HOWARD HUGHES PARKWAY                               SULMEYER KUPETZ
 NEWPORT BEACH, CA 92663-3908                      SUITE 300                                                2424 SE BRISTOL ST
                                                   LAS VEGAS, NV 89169                                      SUITE 300
                                                                                                            NEWPORT BEACH, CA 92660-0764


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June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
4850-8841-6168, v. 1
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